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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                     AT LEXINGTON

 ELIZABETH NIBLOCK and ALA
 HASSAN, Individually and on behalf of                  CIVIL ACTION NO. 5:19-394-KKC
 those similarly situated,
        Plaintiffs,

 V.                                                                ORDER

 UNIVERSITY OF KENTUCKY, MITCH
 BARNHART AND ELI CAPILOUTO in
 their official capacities,
        Defendants.



                                              *** *** ***

         This matter is before the Court on the Court’s own motion. This matter is currently

 scheduled for a five-day bench trial beginning on Tuesday, August 16, 2022. The Court is no

 longer able to try this matter as scheduled due to the Court’s substantial criminal jury trial

 docket. Accordingly, the Court hereby ORDERS:

      (1) The in-person PRETIAL CONFERENCE currently scheduled for August 3, 2022 shall

         be CONTINUED to October 4, 2022 at 2:30 p.m. in Lexington, Kentucky;

      (2) The BENCH TRIAL currently scheduled to begin August 16, 2022 shall be

         CONTINUED to October 24, 2022 at 9:00 a.m. in Lexington, Kentucky. The Court

         will set aside five (5) days for trial.

      This 12th day of July, 2022.




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